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OUR MISSION IS TO:

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Case 6:17-cv-01001- D6é+—Bocument 7-1 Filed 07/03/17 Page 1of13PagelD53, I |
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BILL COWLES ste cose |
Supervisor of Elections Ensure the integrity of ube oo ess |
Orange County, Florida Encourage citizen participation.
| .

201899155 123623677 05/08/2017 ! EF

JANVIER JOHN PETERSON

APARTMENT 723

535 MONICA ROSE DR

APOPKA FL 32703

Determination Letter
Removed

Upon review of the evidence presented regarding your eligibility to vote in Orange County, I'm writing to _
inform you that a final determination has been made and your voter registration has been rémoved. You
may not vote again until you meet the State's eligibility requirements and re-register.

You may appeal this decision in the Orange County Circuit Court under the provisions of F.S. 98.0755.

\f you have further questions, please call our Customer Service Department at (407) 836-2070.

Carta de Determinacién
Removido

Al revisar la evidencia presentada con respecto a su elegibilidad para votar en el Condado
Orange, le queremos informar que se ha hecho una determinacién final y su registro de
votacién ha sido removido. Usted no podra votar hasta que cumpla con los requisitos de ,
elegibilidad del Estado y se inscriba nuevamente para votar.
Usted puede apelar esta decisién en la Corte de Circuito def Condado Orange bajo la
provision F.S. 98.0755. i

Si tlene mas preguntas, por favor llame a nuestro Departamento de Servicio al Cliente

al (407) 836-2070.

119 West Kaley Street, Orlando « Reply to: Post Office Box 562001, Orlando, Florida 32856
Phone (407) 836-2070 3 Fax (407) 254-6596 « TDD (407) 422-4833 © Internet: www.ocfelections.com

”

Case 6:17-cv-01001-DCI Document 7-1 Filed 07/03/17 Page 2 of 13 PagelD 54

Bill Cowles - Orange County Supervisor of Elections

P.O. Box 562001 - Orlando, Florida 32856-20

Telephone: (407) 836-2070 FAX: (407) 254-6598 TTY: (407) 422-4833
Email - voter@ocfelections.com

Visit our website at www.ocfelections.com

3000 03/31/2017 123623677 36

EF JOHN PETERSON JANVIBR
APARTMENT 723
535 MONICA ROSE DR
APOPKA FL 32703

Our office has received documentation that indicates you have been convicted of a felony
and your civil rights are not restored. A copy of this documentation is enclosed for your

review.

If this is true then Florida law requires us to cancel your voter registration and you
will not be allowed to vote again until your civil rights have been restored. The
Florida Office of Executive Clemency can be reached at (850) 488-2952 if you need
additional information on the restoration of civil rights following a felony conviction.

If this is an error and you have not been convicted of a felony then please help us
correct the error. If you prefer to handle this matter in person you have the right to
request a hearing to determine your eligibility to vote.

Please answer the questions below, sign your name and return this form within 30 days.
Failure to respond within 30 days may result in your name being removed from the
Orange County voter list.

If you have questions or need help in resolving this matter, please call our Customer
Service Manager at (407) 254-6550.

___ YES, the information is correct and my voter registration must be cancelled. ‘
we NO, the information you have been given is incorrect.Z wear Ver Personel befre the Cow? Sug.
ww enS I request a hearing on this matter and will bring proof that I am not a
felon or that I have my civil rights restored. ee nol 5.

I do not request a hearing on this matter but have enclosed proof that I
am not a felon or proot that my civil rights are restored.

Daytime telephone number: (4 Yo.) 3 qY - 7. 7. PQ
Current residence address: §35 Cn Se ° - A a. LZ e3

Date: 4 -/6 -aol?

PLEASE REMEMBER TO SIGN BELOW.

Yours sincerely,

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: Case 6:17-cv-01001-DCI Document 7-1 Filed 07/03/17 Page 3 of 13 PagelD 55
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eiefenient JOHN PETERSON JANVIBR, being personally before tits Cont, represented by CIFFICE
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Bd Ire Cpe Court om Augie 27,2015 Nuuse Pro Tune Septaneber 28, 2018

pully Glerk in Attendance: Jit E.,
oe af Tiffany Mi Pesned, Grange ‘Gounty Clerk of fe Circuit and Gounty Courts
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3 Case 6:17-cv-01001-DCI

Document 7-1 Filed 07/03/17 Page 4 of 13 PagelD 56

IN THE DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
FIRST DISTRICT
JOHN PETERSON JANVIER, CASE NO:1D12-4663

APPELLANT, L.T.NO:CW201001310
V.

DEPARTMENT OF AGRICLTURE

AND CONSUMER,ETC.,ET AL

APPELLEE.

SAY:

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MOTION TO REQUEST JUDICIAL NOTICE “
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APPELLANT, RESECTFULLY REQUEST THIS COURT TAKE JUDICIAL NOTICE GE:
SECTION 790.53(3),FLORIDA STATUTES, OPEN CARRY OF WEAPONS, - AND
SECTION 777.04(5) (A),FLORIDA STATUTES, PURSUANT TO SECTION
90.201(1}, (2), (3),FLORIDA STATUTES AND SECTION 90.202 (6), (11), AND

(12), FLORIDA STATUTES. THE OFFENSE OF WHICH APPELLANT WAS

CONVICTED DOES NOT DISQUALIFIES HIM FROM HOLDING A CONCEALED

WEAPON LICENSE. ATTEMPT/FAILED TO COMMIT CARRYING A CONCEALED

FIREARM IS [OPEN CARRY OF FIREARM/ WEAPON] A MISDEMEANOR

RESPECTFULLY SUBMITTED,

—
JO

PET#RSON JANVIER,
2152 RIDGE DR.

WINTER PARK, FLORIDA 32792-1832
(407) 394-7700
Case 6:17-cv-01001-DCI Document 7-1 Filed 07/03/17 Page 5of 13 PagelD 57

DISTRICT COURT OF APPEAL, FIRST DISTRICT
2000 Drayton Drive
Tallahassee, Florida 32399-0950
Telephone No. (850)488-6151

April 03, 2013

CASE NO.: 1D12-4663
L.T. No.: CW201001310

John Peterson Janvier Vv. Department of Agriculture and
Consumer, etc., et al

Appellant / Petitioner(s), Appellee / Respondent(s)

BY ORDER OF THE COURT:

Appellant's motion filed March 6, 2013, for rehearing is denied.

Appellant's motion filed March 13, 2013, to request jucicial notice is granted.

| HEREBY CERTIFY that the foregoing is (a true copy of) the original court order.
Served:

John R.Perry John Peterson Janvier

jm

NL EKA,

JOSYS. WHEELER, CLERK

Joh@abartvidrMigghdeF 08 AdeOePIGrida AlrkBt/03/17 Page 6 of 13 Fagg Por

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Arrest
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Information os

Record Removal
Orange County John Janvier

Arrest Information

Full Name: John Peterson Janvier
Date:08/11/2010

Personal Information

Arrest Age:24

Current Age: 28

Gender: Male

Birthdate: 06/14/1986
Block: 7500 Covedale Dr
City: Orlando, Florida 32818

Tag this Mug Shot

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STATUTE: 790.01(1) (FIRST DEGREE MISDEMEANOR)

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Page 7 of 13 PagelD 59

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Case 6:17-cv-01001-DCI

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John Peterson Janvier

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Arrest ID: FL-111155513

Date: 08/11/2010
DOB: 06/14/1986

Charge(s): Carrying A Concealed Weapon

Views: 1,494
Case 6:17-cv-01001-DCI Document 7-1 Filed 07/03/17 Page 9 of 13 PagelD 61
1-787 (Rev. 05-25-2012)

U.S. Department of Justice

Federal Bureau of Investigation

Clarksburg, WV 26306

6/6/2014 7033
JOHN PETERSON JANVIER

308 RACHELLE AVE APT 533
SANFORD FL 32771

The Criminal Justice Information Services (CJIS) Division of the Federal Bureau of Invesiigation
has completed the following fingerprint submission:

Subject Name Search Completed Result

JOHN PETERSON JANVIER 6/3/2014 A SEARCH OF THE
FINGERPRINTS PROVIDED
BY THIS INDIVIDUAL HAS
REVEALED PR..°R ARREST

DATA AT THE FB’,
Social Secvrity number: XXX-XX-0673

The result cf the above response is only effective for the date the submission was originally
completed. “or more updated information, please submit new fingerprints of the subject.

In order to protect Personally Identifiable Information, as of August 17, 2009, FBI policy has

changed to no longer return the fingerprint cards. This form will serve as the FBI’s official
response.

Any questions may be addressed to the Customer Service Group at (304) 625-5590. You may also
visit the Web site at www.fbi.gov for further instructions.

This Criminal History Record Information (CHRJ) is provided pursuant to 28 CFR 16.30-16.34
solely for you te conduct a personal review and/or obtair a change, correction, or updating of

your record. This CHRI is not provided for the purpose of licensing or employment or any other
purpose ent:merated in 28 CFR 20.33.

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Case 6:17-cv-01001-DCI Document 7-1 Filed 07/03/17 Page 10 of 13 PagelD 62

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
CRIMINAL JUSTICE INFORMATION SERVICES DIVISION
CLARKSBURG, WV 26306

DC0000004 ICN ISIS0002000027897176

THE ENCLOSED RECORD, DATED 2014/06/06, WITH THE FBI NUMBER 293662KC5 AND
IAFIS CONTROL NUMBER (ICN) ISIS0002000027897176 IS BEING PROVIDED AS THE
RESULT OF SUBJECT CRIMINAL HISTORY RESPONSE REQUEST.

DATA RELATED TO THIS RECORD WAS REQUESTED FROM THE FOLLOWING:

FLORIDA ~ STATE ID/FL06399840
FBI (SPECIAL INFORMATION ONLY) - FBI/293662KC5

SINCE THIS RESPONSE CONTAINS NATIONAL FINGERPRINT FILE (NFF) REGULATED
DATA, THE RESPONSE MAY NOT BE COMPLETE. IF THE RESPONSE IS INCOMPLETE,
PLEASE CONTACT THE CRIMINAL JUSTICE INFORMATION SERVICES DIVISION

OR THE STATE BUREAU(S) TO REQUEST A COMPLETE RECORD.

DCO00CO0Z

DO 556-73 REQ
FBI-CJIS-WV

MIH UNIT-SAT II

1000 CUSTER HOLLOW RD
CLARKSBURG, WV 26306
Case 6:17-cv-01001-DCI Document 7-1

Filed 07/03/17 Page 11 of 13 PagelD 63

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
CRIMINAL JUSTICE INFORMATION SERVICES DIVISION
CLARKSBURG, WV 26306

DC000000Z

ICN ISTS0002000027897176

THE FOLLOWING FBI IDENTIFICATION RECORD FOR 293662KC5 IS FURNISHED FOR

OFFICIAL USE ONLY.

DESCRIPTORS ON FILE ARE AS FOLLOWS:

NAME JANVIER, JOHN PETERSON

SEX RACE BIRTH DATE HEIGHT
M B 1986/06/14 600
BIRTH CITY BIRTH PLACE

UNREPORTED UNITED STATES
CITIZENSHIP

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OTHER BIRTH
DATES SCARS - MARKS - TATTOOS

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ALIAS NAME(S)
NONE

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_ Case 6:17-cv-01001-DCI

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Document 7-1 Filed 07/03/17 ~+Page 12 of 13 PagelD 64

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INDEX OF AGENCIES  *#24 kee EEEECEEEREARAERES
ORANGE COUNTY: _SHERIFF'S- OFFICE .

UNKNOWN CONTACT

" 9TH CIRCULT COURT - ORLANDO’
- ORANGE COUNTY CourTHousE

' STATE ATTORNEY'S CHEICE - ORLANDO

STH JUDICIAL crReorT

ORLANDO POLICE DEPARTMENT. —
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SUPERVISOR OF ELECTIONS

Orange County, Florida
Bill Cowles

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FVRS ID Number: 123623677

Full Name: JOHN PETERSON JANVIER
Date of Birth: 06/14/1986

Party: DEMOCRATIC

Address: 535 MONICA ROSE DR
City: APOPKA

Zip Code: 32703

Voter Status: ACTIVE VOTER

You registered to vote on: 06/17/2016

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Previous Precinct:

. B
Precinct: 228 =se 228
APOPKA CALVARY NAZARENE CH - 750 ROGER WILLIAMS RD
Polling Place: #
ot Sen

NO BALLOT CARD AT THIS TIME

Sample Ballot Cards:

DYFata tonal ialcovmanrslarela

Orange County has completed redistricting as required by the Florida Supreme Court. We have displayed your previous district Information
to assist you In contacting your current elected officials. After being sworn into office, candidates elected during the general election on
November 8, 2016 In your newly assigned districts will be your representatives.

Congressional District: 10 Previous Congressional District: 7
Senate District: 11 Previous Senate District: 12
House District: 45

County Commission: 2

School Board District: 7

Municipality: APOPKA

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YOU ARE ELIGIBLE TO VOTE IN THE FOLLOWING UPCOMING ELECTIONS:
2016 PRIMARY ELECTION - Tuesday, August 30, 2076
2016 GENERAL ELECTION - Tuesday, November 08, 2016
2017 MUNICIPAL ELECTION - Tuesday, March 14, 2077
2018 MUNICIPAL ELECTION - Tuesday, March 13, 2018

9N1A PRIMARY - Tresday Annust IR INTR

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